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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


The Sustainability Institute et al.,      )
                                          )
               Plaintiffs,                )
                                          )
        v.                                )           C.A. No. 2:25-2152-RMG
                                          )
Donald J. Trump, in his official capacity )
as President of the United States, et al. )
                                          )
               Defendants.                )           ORDER
                                          )
____________________________________)

        Plaintiffs have moved for expedited discovery in advance of the Court’s hearing on their

motion for preliminary injunction. (Dkt. No. 25). Defendants oppose the motion, arguing that they

plan to file a motion to dismiss on jurisdictional grounds, and the Court should take up their motion

to dismiss before reaching Plaintiffs’ motion for a preliminary injunction. (Dkt. No. 39 at 7-8).

Defendants also object to what they describe as the “voluminous, not narrowly tailored, and

burdensome” discovery requests. (Id. at 11-13).

        Federal Rule of Civil Procedure 26(d)(1) provides that a “a party may not seek discovery

from any source before the parties have conferred as required under Rule 26(f),” but the Rule is

subject to modification by court order. The majority view, which is followed within this District,

is that a motion for expedited discovery in advance of a hearing on a motion for preliminary injury

is subject to what has been called the “reasonableness test.” Moore’s Federal Practice § 26.121[2];

Knight’s Companies, Inc. v. Vantage Benefits Administrators, Inc., Case No. 2:18-cv-350, 2018

WL 6271049 at *1 (D.S.C. 2018); Humphrey v. Sallie Mae, Inc., C/A No. 3:10-cv-01505, 2010

WL 2522743 at *1 (D.S.C. 2010). The factors courts have looked to in determining whether



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expedited discovery is appropriate under the reasonableness test include (1) whether a preliminary

injunction motion is pending; (2) the breadth of the discovery requests; (3) the purpose for

requesting the expedited discovery; (4) the burden on the defendants to comply with the requests;

and (5) how far in advance of the typical discovery process the request was made. Id. Moore’s

Federal Practice explains the expanding use of expedited discovery in advance of hearings on

motions for preliminary injunction:

               In the many years since the deployment of the standards for granting
               a preliminary injunction to requests for expedited discovery, courts
               have moved toward the reasonableness test. The changing construct
               of Rule 26—with its mandated conferences and sequenced
               discovery—has required district courts to slip away from the
               preliminary injunction rules to ask questions more relevant to
               requests for expedited discovery. This is evident with requests to
               support motions for preliminary injunctions and motions to dismiss
               for want of anemic fact-based allegations. The reasonableness test
               is a product of these difficulties, bringing to bear considerations
               directly relevant to today’s discovery regime.

Moore’s Federal Practice § 26.121[2]

       In a recent case involving a challenging to an executive order, Judge John D. Bates ruled

that “properly limited, expedited discovery would be appropriate and beneficial . . .” in advance

of a pending motion for a preliminary injunction. American Federation of Labor and Congress of

Industrial Organizations v. Department of Labor, No. 25-0339 (JDB), 2025 WL 556325 at *1

(D.D.C. 2025). Judge Bates explained:

               Defendants rightly point out that a district court’s role in traditional
               APA cases is limited to reviewing the administrative record.
               However, this is an unusual case. Plaintiffs don’t contend that the
               decisions and policies they challenge were made through a formal
               process or otherwise produced a record like the Court may see in a
               typical APA case. Indeed, the core question here is whether the
               defendants even took the actions (or established the policies) that
               plaintiffs challenge. There’s no way for the Court to decide that
               question—or the follow up question of whether those policies were
               in accordance with the law—without some evidence of the

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               defendants’ decisionmaking process. So, in this APA case,
               discovery is appropriate. Id.

       The Court has carefully weighed Plaintiffs’ motion for expedited discovery in light of the

reasonableness standards for early discovery. First, Plaintiffs do have a preliminary injunction

pending. Second, the breadth of discovery, narrowed by the Court below, is limited in scope and

time. Third, the purpose of the expedited discovery is to provide Plaintiffs and the Court

contemporaneous evidence of the decisionmaking process at issue in this action, a critical issue in

any action brought pursuant to the APA. Furthermore, the Court, by order dated March 31, 2025,

directed Defendants to address in their response to the motion for preliminary injunction “all legal

and factual bases upon which the Defendants relied upon . . . to freeze grant funds at issue in this

litigation.” (Dkt. No. 32 at 2). Providing the Plaintiffs and the Court the underlying documents to

support the Defendants’ responses to the Court directed inquiry is reasonable and allows the Court

to determine whether the reasons asserted by Defendants were the ones relied upon at the time of

the challenged actions or are post hoc justifications. Fourth, the burden on the specifically

identified five defendants to produce all documents in any way related to the freezing, pausing,

and/or termination of the grant funds at issue in this litigation should not be unduly burdensome.1

Fifth, the limited scope of the required expedited discovery is, relatively speaking, fairly close in

time to the time Defendants would be required to produce the administrative record in this APA

case. In sum, all reasonableness factors for expedited discovery weigh in favor of Plaintiffs’




1
  Indeed, the Court would anticipate that producing the limited documents identified below would
place a minimal burden on defense counsel and their clients since it is reasonable to assume that
those very documents will be reviewed in responding appropriately to the Court’s inquiry
regarding “all legal and factual bases upon which Defendants relied upon . . . to freeze grant funds
at issue in this litigation.” (Dkt. No. 32 at 2).



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motion. Consequently, the Court grants in part and denies in part Plaintiffs motion for expedited

discovery, as further explained below.2

       The Court has reviewed Plaintiffs’ discovery requests and agree with Defendants that they

are more extensive than necessary for expedited discovery. The Court hereby narrows the

discovery requests of Plaintiffs to one Request to Produce for the following five Defendants:

United States Department of Governmental Efficiency Service (“DOGE”), United States

Environmental Protection Agency, United States Department of Agriculture, United States

Department of Transportation, and United States Department of Energy. The responses to the

following narrowed Requests to Produce are due on or before April 17, 2025 at 5:00 p.m. and shall

be filed on the ECF. Each of the above five Defendants shall submit separate responses. All

responses must be certified by an employee of that agency or entity, attesting to the fact that he or

she has made a diligent search of all records and that the records produced are complete to his or

her personal knowledge and belief.

       In the event any Defendant asserts any privilege in regard to any of the documents required

to be produced by this Order, such Defendant shall file a motion for a protective order on or before

April 17, 2025 at 5:00 p.m., and the motion must be accompanied by an appropriate privilege log.

Additionally, any document asserted by any Defendant to be subject to any privilege must be




2
  The Court granting Plaintiffs’ motion for expedited discovery by no means forecloses Defendants
from asserting a jurisdictional challenge or any other defenses. The Court notes that other recent
district court decisions relating to challenged agency actions have addressed jurisdictional and
other defenses in orders ruling upon motions for a preliminary injunction. See, New York v. Trump,
2025 WL 715621 at * 5-7 (D.R.I. 2025); National Council of Nonprofits v. Office of Management
and Budget, 2025 WL 597959 at *5-11 (D.D.C. 2025); Massachusetts v. National Institute of
Health, 2025 WL 702163 at *4-8 (D. Mass. 2025); American Association of Colleges of Teacher
Education v. McMahon, 2025 WL 863319 at *2-5 (D. Md. 2025).
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submitted to the Court under seal and ex parte for in camera review on or before April 17, 2025 at

5:00 p.m.

       The Plaintiffs’ Request to Produce are hereby narrowed as follows for each of the named

Defendants below:

                                                DOGE

       All documents3 prepared, received, possessed or transmitted from January 20, 2025 to the

present which reference in any way any of the grants set forth in Dkt. No. 25-1 at 14-20 and which

relate in any manner to the freezing, pausing, and/or terminating grant funds to the grant recipients

who are parties to this litigation. These documents include, but are not limited to, those documents

which reference in any way the reasons for any such freeze, pause, and/or termination of access to

grant funds or involve a general directive or instruction from DOGE to any agency or agency

official to pause, freeze and/or terminate grant funding at issue in this litigation. This Request

includes all such documents in your possession, custody and/or control.

                        United States Environmental Protection Agency

       All documents prepared, received, possessed or transmitted from January 20, 2025 to the

present which reference in any way any of the grants set forth in Dkt. No. 25-1 at 14-20 and which

relate in any manner to the freezing, pausing, and/or terminating of access to the grant funds to the

grant recipients who are parties to this litigation. These documents include, but are not limited to,

those documents which reference in any way the reasons for any such freeze, pause, and/or

termination of access to grant funds and further include any documents relating to freezing,




3
  As used in this Order, “document” means material of every kind or nature, whether typed,
handwritten, hard copy or digital, and includes, but is not limited to, all emails, minutes, directives,
memos, charts, and summaries.
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pausing, or terminating grant funds under the agency’s supervision received from DOGE. This

Request includes all documents in your possession, custody, and/or control.

                           United States Department of Agriculture

       All documents prepared, received, possessed or transmitted from January 20, 2025 to the

present which reference in any way any of the grants set forth in Dkt. No. 25-1 at 14-20 and which

relate in any manner to the freezing, pausing, and/or terminating of access to the grant funds to the

grant recipients who are parties to this litigation. These documents include, but are not limited to,

those documents which reference in any way the reasons for any such freeze, pause, and/or

termination of access to grant funds and further include any documents relating to freezing,

pausing, or terminating grant funds under the agency’s supervision received from DOGE. This

Request includes all documents in your possession, custody, and/or control.

                         United States Department of Transportation

       All documents prepared, received, possessed or transmitted from January 20, 2025 to the

present which reference in any way any of the grants set forth in Dkt. No. 25-1 at 14-20 and which

relate in any manner to the freezing, pausing, and/or terminating of access to the grant funds to the

grant recipients who are parties to this litigation. These documents include, but are not limited to,

those documents which reference in any way the reasons for any such freeze, pause, and/or

termination of access to grant funds and further include any documents relating to freezing,

pausing, or terminating grant funds under the agency’s supervision received from DOGE. This

Request includes all documents in your possession, custody, and/or control.

                              United States Department of Energy

       All documents prepared, received, possessed or transmitted from January 20, 2025 to the

present which reference in any way any of the grants set forth in Dkt. No. 25-1 at 14-20 and which



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relate in any manner to the freezing, pausing, and/or terminating of access to the grant funds to the

grant recipients who are parties to this litigation. These documents include, but are not limited to,

those documents which reference in any way the reasons for any such freeze, pause, and/or

termination of access to grant funds and further include any documents relating to freezing,

pausing, or terminating grant funds under the agency’s supervision received from DOGE. This

Request includes all documents in your possession, custody, and/or control.

       AND IT IS SO ORDERED.



                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge


April 7, 2025
Charleston, South Carolina




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